Case 2:20-cv-12127-NGE-APP ECF No. 50-2, PageID.1564 Filed 09/25/20 Page 1 of 3




           EXHIBIT 1
Case 2:20-cv-12127-NGE-APP ECF No. 50-2, PageID.1565 Filed 09/25/20 Page 2 of 3




 From: Drew Paterson <aap43@outlook.com>

 Sent: Friday, September 18, 2020 10:50 AM

 To: Angela L. Baldwin <ALB@millerlawpc.com>

 Cc: Melvin B. Hollowell <MBH@millerlawpc.com>; Robert Davis <davisrobert854@gmail.com>; Janet
 Anderson‐Davis <jandersn@waynecounty.com>

 Subject: Re: Davis et al v. Wayne County Board of Canvassers Motion to Amend



 Ms. Baldwin,

 Respectfully, Plaintiffs do not concur because there is no legal basis under the Federal Court Rules for
 your client's intervention in this matter. Please be advised, that if you proceed with filing such a motion,
 Plaintiffs will seek sanctions.



 Drew Paterson

 (248) 568‐9712

 aap43@outlook.com

 ________________________________________

 From: Angela L. Baldwin <ALB@millerlawpc.com>

 Sent: Friday, September 18, 2020 10:38 AM

 To: Robert Davis <davisrobert854@gmail.com>; Drew Paterson <aap43@outlook.com>; Janet Anderson‐
 Davis <jandersn@waynecounty.com>

 Cc: Melvin B. Hollowell <MBH@millerlawpc.com>

 Subject: Davis et al v. Wayne County Board of Canvassers Motion to Amend



 Good Morning,



 We plan to file an amended motion to intervene in the below matter. Do you concur?



 Case Name:       Davis et al v. Wayne County Board of Canvassers

 Case Number: 2:20‐cv‐12127‐NGE‐APP
Case 2:20-cv-12127-NGE-APP ECF No. 50-2, PageID.1566 Filed 09/25/20 Page 3 of 3




 Thanks,

 Angela
